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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division

UNITED STATES OF AMERICA                      )
                                              )
     v.                                       )       Criminal No. 3:19cr19
                                              )       The Honorable M. Hannah Lauck
TROY G. SKINNER,                              )
                                              )
                 Defendant.                   )

                     DEFENDANT’S MEMORANDUM IN SUPPORT OF
                        MOTION TO SEAL REPLY TO RESPONSE

          COMES NOW the defendant, Troy G. Skinner, by counsel, and files this memorandum in

support of his Motion to Seal the Reply to the Government’s Response to his Motion to Dismiss

on Due Process Grounds (ECF No. 91), copies of which have been provided to the government.

The reply contains statements about a child that must be sealed under 18 U.S.C. § 3509(d). Placing

these exhibits under seal will protect the minor child’s privacy interests, as provided in 18 U.S.C.

§ 3509(d) and Rule 49.1 of the Federal Rules of Criminal Procedure.

          “In Nixon v. Warner Communications, Inc., 435 U.S. 589, 597 (1978), the Supreme Court

recognized a common law right to inspect and copy judicial records and documents. This right to

access to court records is not absolute, however.” In re The Knight Publishing Company v.

Observer, 743 F.2d 231, 234 (1984). A court “has supervisory power over its own records, and

may, in its discretion, seal documents if the public’s right of access is outweighed by competing

interests.” Id. at 235. When asked to seal court documents, the court must follow specific

procedures. According to Fourth Circuit case law, before a court may seal any court documents

the court must (1) provide public notice of the request to seal and allow interested parties a

reasonable opportunity to object, (2) consider less drastic alternatives to sealing the documents,




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and (3) provide specific reasons and factual findings supporting its decision to seal and for

rejecting the alternatives. Ashcroft v. Conoco, 218 F.3d 288, 302 (4th Cir. 2000).

       For purposes of this motion, the interested parties are the U.S. government, Mr. Skinner,

and the minor child. The documents in question include information pertaining to the minor child.

The need to protect the minor child outweighs the public’s right to access in this case. Placing

these documents under seal will protect the minor child’s privacy.

       For the foregoing reasons, the defendant requests that the Court grant his motion to seal

the sentencing position and place a redacted copy in the public record.

                                                     Respectfully submitted,
                                                     TROY G. SKINNER

                                                                   /s/
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